Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 1 of 22




                    DARIN F. CLARK




             MEDICAL DOCUMENTATION
        Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 2 of 22




 CLARK, DARIN  ROOM:ER MR#:11-61-43 P     TMB
 EXAM DATE:11/22/92 AGE:025Y DOB:07/19/67

 STUDY: CHEST

• COMMENT: Initial examination of the chest demonstrates no
  evidence for pneumothorax, pulmonary contusion or major vascular
  injury.

 Incidental note is made of 'Harrington rods which span the upper
 thoracic to the lower thoracic spine. The rods are threaded and
•have been placed in a manner to create compressive forces over
 the axial spine.

 IMPRESSION: No acute abnormality of the chest is identified in
 the setting of trauma.


 STUDY: CERVICAL aPINE CROSS-TABLE LATERAL VIEW

 IMPRESSION: Initial cross-table lateral view is obtained and this
 shows normal alignment with no evidence for major injury.


 STUDY: CERVICAL SPINE SERIES

 COMMENT: Alignment of the cervical spine is normal. Disc spaces
 are well maintained. Prevertebral soft tissues are normal. There
 is no evidence for fracture or dislocation.

 IMPRESSION: Normal cervical spine series.


 STUDY: STERNUM

 IMPRESSION: Views of the sternum show no evidence for fracture.




                                         DOUGLAS D. CHILD M.D.
 t11/23/92cn

 11/23/1992 11:17am

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        Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 3 of 22
                                                                          Copy 1
LOGAN REGIONAL HOSPITAL RADIOLOGY REPORT (270099) 965631-5
CLARK, DARRIN FRONK ROOM:041        MR#:207500
EXAM DATE: 01/16/98  AGE:030Y        DOB:07/19/67
STUDY: BRAIN AND CERVICAL SPINE MRI
CLINICAL HISTORY:   Headaches. Prior Harrington rod placement.
TECHNIQUE: Brain images obtained using sagittal, axial, and coronal T1
and T2 weighted sequences.
FINDINGS: Midline structures maintained. Cervical cord unremarkable.
Brain stem and cerebellum maintained.
Ventricles, cisterns, and sulci maintained. No abnormal intra- or
extra - axial fluid collections. Gray/white matter differentiation
unremarkable without focal white matter lesion. Normal vascular flow
voids.
Posterior fossa structures maintained with midline fourth ventricle.
Visualized cranial nerves. Possible small mucous retention cyst at the
inferior medial aspect of the right maxillary sinus. Sinuses,
mastoid air cells, and orbits maintained.
IMPRESSION:   Essentially negative findings brain MRI as above.

STUDY: CERVICAL SPINE
TECHNIQUE:    Sagittal and axial T1 and T2 weighted sequences obtained.
FINDINGS: A moderate amount of ferro magnetic artifact is present at
the T2 level and below where the cord is not seen. What is seen of the
vertebral body marrow signal is maintained, save for a mild decrease in
height of C6 when compared with C5 and C7. No evidence for cerebellar
tonsil descent. No paraspinous masses identified.
Abundant cerebrospinal fluid surrounds the cord at C2 with patent
neuroforamina at C2-3.
Widely patent neuroforamina at C3-4, C4-5, C5-6, C6-7, and it appears
to be patent at C7 - T1, however, the artifact grows increasingly large
inferiorly and poor visualization at C7-T1. Abundant cerebrospinal
fluid surrounds the cord at all levels. No evidence for disc
protrusion or significant degenerative change with osteophyte mass
effect.


                     PATIENT NAME: CLARK, DARRIN FRONK
Page of 2 MED. REC. NO.: 207500
05/12/99 09:14:12.33        EXAM DATE:     01/16/98




                           41loch
        Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 4 of 22
                                                                          Copy 1
IMPRESSION: C6 is smaller in height than its neighbors above and
below, suggesting prior compression or congenital/develpmental anomaly.
Cervical cord maintained. Patent neuroforamina. No evidence for
mass effect on the cord. Artifact inferiorly. Correlate clinically
for treatment and followup.




                                              TERRY J. BUCCAMBUSO, M.D.
TJB/tp T:01/16/98




                     PATIENT NAME: CLARK, DARRIN FRONK
Page of 2 MED. REC. NO.: 207500
05/12/99 09:14:12.38        EXAM DATE:     01/16/98
    page 2 of 2
                   Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 5 of 22




                    DARIN CLARK                          December 20, 2012                                  EIVIG/re
                                                         PERRY CLINIC
                    S:     The patient is a 45-year-old male with bilateral kmorcmatellar pain.

                           This patient has had problems for the last several months, pro&essivc, with pain in the
                           petropatellar space with any kneeling, sitting with his knee bent, or going down hills.
                           Both are equally a pnthlciti, and he knows of no definite injury. I le does have sonic night
               J

                           pain when he sleeps with his knees bent.

                    0:     On examination, this patient has some decreased tension in hnth quadriceps groups. The
                           right knee is tender along the lateral lomoropatellar joint and vt.3-y lender with inhibition
                           of the quads. He is also somewhat tender in the posteromedial joint line, but has a
                           negative McMurray. lie is stable to vartis, valgus, anterior and posterior drawer.

                           The left knee is tender medially in the retropatellar space, and there is a popping on the
                           lateral side of the patella. He also is painful with inhibition at a 4+ level, and he is tender
                           mildly in the mid medial joint line.

                           1'3 oth of these painful episodes that occurred daring the examination in the medial joint
                           space are not common to him.

        • r:               Evaluation of x-ray Elms, AP and lateral of the patella, show a well-ossified joint. The
                           joint spaces arc quite well preserved with some early narrowing of the medial side, and
                           the fcmoropatel I al - joints are so.mewh at tilted laterally, but not patholocally. They are
                           somewhat narrowed with very early beginning of osteophytes.

                    A:     This patient shows evidence of chondrornala chi patella. with tihiillahen orhoth
                           fernorepatellar joints. These are both related to bent-knee activities and presence of a
                           weak quadriceps muscle.

                    P:     We are going to put the patient in physical therapy, and l think that by strengthening we
                           can get rid of a lot of his pain. He may come to injections in the firture. Someday the
                           medial joint line pain may need to be addressed with MRI's, because T think he is starting
                           to get some degenerative changes in his menisci bilaterally.
    :
                    E. Marlowe Goble, .M.D./re




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                                                              Case   0147--'--612-C
                                                                  ".1:11-cr-00087-TC                          Document 54-1 Filed 02/02/13 Page 6 of 22
      Mountain West
      Physical Therapy                                             C 7-3PD7
      A Service of he Valley Speez
                                 17          Ho.pit

      Name              7:1,L                                                           Date 1-    '&(
      Diagnosis     ?           Arirci                          R
          214, c);              /                              k.0            deet
      1•50.luate and Treat                       ❑ Electrical Stimulation
      setherapeutic Exercise                     ❑ Massage
      ❑ Ultrasound                               ❑ Iontophoresis/Phonophoresis
      ❑ Gait Training                            ❑ Wound Care
      ❑ Whirlpool                                ❑ Hot Packs
      ❑ Ice Packs                                ❑ KT-1000 Arthrometer Evaluation
      ❑ Isokinetic Evaluation                    ❑ Work Conditioning
      ❑ Neuromuscular Re-education Rehab ❑ Orthotics
      ❑ Knee Brace                               ❑ ASTM
      ❑ Soft Tissue/Joint Mobilization           ❑ Functional Capacity Evaluation
      ❑ Aquatic Therapy                          ❑ Other


      Return appointment with physician         171        weeks. Frequency/Duration

      Frequency/Duration     AC — & -f ■
                                               cA   4
      Comments:      pp             ,e071/#4.--

                    0                         5 c c+- 74r- 4414—


--c          '94-1W-7--- 4.,^ s
              2310 North 400 East, Ste B • North Logan, Utah 84341 • Phone (4       87-9030 • Fax (435) 787-9033
                                                                                                                    M.D.
             169 North Spring Creek Pkwy., Ste 140 • Providence, Utah 84332 • (435) 755-8500 • Fax (435) 755-2836
                 1655 North 200 East, Suite 2 • North Logan, Utah 84341 • (435) 753-1844 • Fax (435) 753-2986
                        44 North 100 East • Preston, Idaho 83263 • (208) 852-4122 • Fax (208) 852-3512
                      451 West 600 North • Tremonton, Utah 84337 • (435) 257-3809 • Fax (435) 257-6347
                         1950 South Hwy. 89 • Perry, Utah 84302 • (435) 723-1902 • Fax (435) 723-1908
                 Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 7 of 22
JAN/15/2013/TUE 07:15 PM             MTN WEST PHYSICAL                          FAX No. 435 787 9033                          P. 001/001




    NAME:                                                    Age:    `( t---     DOB;   Tfiet_49 7         DATE;   I/2V/ 3.

    DIAGNOSIS:                  k:44 sz 4.
                                     -   -      02•24-1

    SUBJECTIVE:        PAIN LEVEL (Current): 0 1 2                   7 8 9 10 PAIN LEVEL (At Worst): 0 1 2 3 4 5 6

    Pt Is        days/weeks/months S/P




                                    rez.);,-                                     let-ciec
     OBJECTIVE:

    ROM:                                                                        STRENGTH:

    GAIT: 0 WNL                      mod/severe) 0 Decreased Knee Ext (min/mod/severe) 0 Decreased Knee Hex (min/mod/severe)

                                                                 •

    PT ASSESSMENT:
    ❑ Patient Is making appropriate progress In all areas towards therapy goals.
      Pant is progressing with their: 0 ROM 0 Strength 0 Galt Pattern ❑ Other:
    ..tratient is having difficulty with: 0 Achieving knee flexion ❑ Achieving knee extension 0 Normalizing gait pattern    Pain Control

                                             Czo-Q                    Ai -e25


                  in

                                                                                                                                     /3
                                                                      PT SIGNATURE                                         DATE
     PHYSICIAN ASSESSMENT:




     PLAN:

     ❑ CONTINUE WITH CURRENT REHAB:                  x per week for              wks
     ❑ CHANGE CURRENT REHAB;
     o FOLLOW UP WITH PHYSICIAN:
     0 Other:

     COMMENTS:




                                                                      PHYSICIAN SIGNATURE                                  DATE
                           Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 8 of 22
                                                    Lc- inRegional Medical Center
                                                             500 E. 1400 N.
                                                           Logan, Utah 84341

I HC
Patient Name                                           Sex             Birthdate                  Age                   Medical Record Number          Account Number

CLARK, DARIN F                                         MALE            07/19/67                    36                   116143                         27686138
Admit Date / Time                              Discharge Date / Time                              LOS           Disposition

04/22/04 09:26 AM                              04/22/04 09:26 AM                                   1             Home
Primary Pay Source                                                                     Secondary Pay Source

SELECT MED
Attending Physician                                                                Physician Number             Coder

DAVIS, DIRK                                                                        07239                         Patti Falor
MDC Code                    MDC Text



DRG Code                    DRG Text




HCFA Weight                                'Average LOS                                Financial Patient Type


                                           I
                                                                                       HIGH RISK PROCEDURES
   Prin. DX            Principal Diagnosis Text


53011                 REFLUX ESOPHAGITIS

   DX Code             Secondary Diagnosis Text

53085                 BARRETT'S ESOPHAGUS
53510                 ATROPHIC GASTRITIS
5533                  DIAPHRAGMATIC HERNIA
5368                  DYSPEPSIA AND OTHER FUNCTIONAL DISORDER OF STOMACH
V153                  PERSONAL HISTORY OF IRRADIATION




   PX Code             Procedure Text                                                                                                           Date              Surgeon

4516                  ESOPHAGOGASTRODUODENOSCOPY (EGD) WITH CLOSED BIOPSY                                                                  04/22/04      DAVIS, DIRK




   CPT Code & Modifier(s)              CPT Procedure Text                                                                                       Date              Surgeon

43239                                  EGD; BX, SINGLE/MULTIPLE                                                                           04222004       DAVIS, DIRK




                                                                           Page 1 of 1
                                                                                             ,4        71-1   ct_ c h vn e
                    Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 9 of 22

                                                  Logan Regional Hospital
                                                  EGD Procedure Report
Patient:          Mr. Darin Clark                                       Attending Physician:        Dirk Davis M.D.
Patient ID:       DOB 7/19/67 11-61-43                                  Referring Physician:        JAN-ERIK SCHOW M.D.
Exam Date:        04/22/2004


INTRODUCTION:
36 year old male patient presents for an elective outpatient EGD. The indications for the procedure were abdominal pain, dyspepsia
and GERD symptoms.

CONSENT:
The benefits, risks, and alternatives to the procedure were discussed and informed consent was obtained from the patient.

PREPARATION:
EKG, pulse, pulse oximetry and blood pressure monitored.

MEDICATIONS:
- Demerol 75 mg IV before the procedure
- Versed 5 mg IV before the procedure



PROCEDURE:
The endoscope was passed without difficulty under direct visualization to the 2nd portion of the duodenum. Retroflexion was
performed in the cardia of the stomach.

FINDINGS:
ESOPHAGUS: Possible Barrett's esophagus was noted. A few cold biopsies were obtained.
GE-JUNCTION: There was a small hiatal hernia.
STOMACH: The stomach appeared normal.
DUODENUM: The duodenum appeared normal.

COMPLICATIONS:
There were no complications associated with the procedure.

IMPRESSION:
1. Possible Barrett's esophagus. [530.2]. A few cold biopsies were obtained.
2. Hiatal hernia. [553.3].
3. The stomach appeared normal.
4. The duodenum appeared normal.

RECOMMENDATION:
- Follow-up on the results of biopsy specimens.
- Follow-up with JAN-ERIK SCHOW, M.D..
- Continue current medications.
- Follow-up with GI clinic as needed.




  '22/2004
                 Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 10 of 22

                                      Logan Regional Hospital
                                      EGD Procedure Report
Patient:       Mr. Darin Clark                             Attending Physician:   Dirk Davis M.D.
Patient ID:    DOB 7/19/67 11-61-43                        Referring Physician:   JAN-ERIK SCHOW M.D.
Exam Date:     04/22/2004




                   1                          2 EG junction                           3 EG junction
              Not Defined                    Distal Eso ha•us




                  4                                 5                                   6 Antrum
          Bod Of The Stomach                      Cardia                                 Antrum




                  7                                   8
                 Bulb                      2nd Portion Duodenum




                                                 Dirk Davis M.D.
            Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 11 of 22



LAB NO: LRS-04-002052                                                 Date Obtained: 4/22/2004
MMI #: 403078128                                                      Date Received: 4/22/2004
PATIENT NAME: CLARK, DARIN FRONK
DOB: 7/19/1967 36Y M

PHYSICIAN(S): Dirk R. Davis, MD Phone: 435-787-0270, Fax: 435-787-0262
Jan-Erik Schow, MD Phone: 435-257-2469, Fax: 435-257-2434

PATIENT INFO:
Specimen(s) Submitted: ESOPHAGEAL BIOPSY RULE OUT ESOPHAGITIS, METAPHAGIA
                                    THIS IS AN AMENDED REPORT
Pre op Diagnosis: Heartburn, screening.
   -


Post-op Diagnosis: Rule out esophagitis, metaplasia.



FINAL DIAGNOSIS:
ESOPHAGEAL BIOPSY:
1. SQUAMOUS MUCOSA WITH MILD REFLUX ESOPHAGITIS.
2. GASTRIC MUCOSA WITH MODERATE ACTIVE CHRONIC INFLAMMATION AND FOCAL
   PANETH CELL-LIKE METAPLASIA.
3. NO INTESTINAL METAPLASIA, DYSPLASIA OR CARCINOMA IDENTIFIED.
4. NO HELICOBACTER ORGANISMS IDENTIFIED.
SNOMED T-CODE: T56000 T56000
SNOMED M-CODE: D530140 D530100

AMENDMENT COMMENT:
The purpose of this amended report is to convey findings of a special giemsa stain. A special
giemsa stain shows no helicobacter type organisms, and the control material is stained
appropriately. The diagnosis has been modified to reflect this finding. The remainder of this
report remains unchanged.

GROSS EXAMINATION:
The specimen designated "Clark" consists of four tan to light brown irregular mucosal tissue fragments
0.3 to 0.4 cm in diameter each, toto (4).

MICROSCOPIC EXAMINATION:
Sections show squamous-type esophageal mucosa with elongation of vascular pegs, basal cell
hyperplasia, and an increased number of intraepithelial inflammatory cells, predominantly lymphocytes,
but including rare eosinophils and neutrophils. Gastric-type glandular mucosa contains a patchy mild
chronic inflammatory cell infiltrate including eosinophils and neutrophils that extends into the glandular
epithelium in several areas where there are reactive changes. Foci of Paneth cell-like metaplasia are
noted. Distinctive goblet cell metaplasia characteristic of Barrett's mucosa, dysplasia, adenoma, or
carcinoma is not identified. Although some cases of Barrett's esophagus are comprised exclusively of
gastric-type glandular mucosa, correlation with anatomic site is needed. The inflammatory changes are
                                       compatible with reflux disease. A special Giemsa stain has been
Matthew M. Kershisnik M.D.
                                       requested to better evaluate for Helicobacter organisms in the gastric
Pathologist
                                       mucosa; finding will be issued in a follow up report.
Electronically signed 04/26/2004
                   Logan Regional Hospital                     Patient Name: CLARK, DARIN FRONK
                     500 East 1400 North                       Medical Record #: 116143
                      LOGAN, UT 84341                          Room #: GILAB
                                                               Encounter #: 27686138
                                     Surgical/Path Report                    Page 1 of 1
                        Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 12 of 22



                       MOUNTAIN WEST
                       Ear, Nose & Throat • Head & Neck

                               Brigham Medical Clinic
                               Thomas Matthews, MD
                               600 W. Hospital Rd.
                               Brigham City, UT
CURT   R. STOCK, M.D.

                               RE: Darin Clark
D. TYKIE SKEDROS, M.D.
                               DOB: 7/19/1967
STEVEN M. KELLY, M.D.

SCOTT K. THOMPSON, M.D.        Dear Dr. Matthews,

                               Darin Clark, a 45 year-old male, was seen for a hearing evaluation on 8/21/12. He is a
Renaissance Towne Center       longstanding patient of this clinic. He wears bilateral hearing aids. He reported today
1551 South Renaissance Towne Dithat he is having more difficulty hearing, even with his hearing aids.
Suite 310
Bountiful, Utah 84010          Otoscopy showed clear ear canals and intact tympanic membranes. Hearing was tested
Phone 801-295-5581,            conventionally and reliability was considered good. Air and bone conduction thresholds
        801-292-3331           indicated a mild sloping to severe sensorineural hearing loss bilaterally. gals (speech
Fax 8o1-295-9253
                               reception thresholds) were consistent with the audiometric test results. Speech
                              discrimination was good at 92% in the right ear and 88% in the left ear at comfortable
                               presentation levels. Tympanograms showed type A tracings and suggest normal middle
Layton Office
2255 N. 1700 W.                ear pressure and function. Ipsilateral acoustic reflexes were present bilaterally.
Suite 300
Layton, Utah 84041
                              The patient has a mild sloping to severe sensorineural hearing loss bilaterally. Hearing
Phone 8ot-776-218o             has slightly decreased compared to test results from 10/10/08. The patient's hearing
Fax 801-776-2534               loss is significant and the patient will have problems hearing sounds and speech in any
                              environment without his hearing aids. With his hearing aids, the patient will still have
                              difficulty understanding speech when there is background noise present, with multiple
Draper Office                 speakers, when the speaker is turned away from him, and when there is distance
114 East 12450 S.
                              between him and the speaker. The patient will be able to hear the best in a quiet
Suite 206
Draper, Utah 84020            environment while speaking to one person who is facing him and in close proximity.
Phone 8o1-576-5930
                              The test results were discussed with the patient. His hearing aids were checked and
Fax 8m-576-5934
                              adjusted to meet real-ear targets in order to make the speech signal accessible to him.
                              His hearing aids are from 2007. He could use more power, due to the decrease in
                              hearing. He could also benefit from the features available in newer hearing aids. He was
                              told to follow-up with you regarding these test results. We will continue to follow him
                              regarding his hearing and hearing aids.

                              Thank you for the refeKai,

                              Niki L. Barwick, A   ui0
                              Doctor of Audiology
                                                                                                        CONFIDENTIAL

                                                        4-1 a c h   e
          Case
Darin Clark      1:11-cr-00087-TC
            45 yr., DOB: 7/19/1967                                              Document 54-1 Filed 02/02/13 Page 13ofofVisit:
                                                                                                                Date     22                                        8/21/2012




                                                                                              MOUNTAIN WEST
                                                                                              Ear; Nose & Throat • Head & Neck



AUDIOMETRIC REPORT

Audiometric Report:
Hearing aid candidate flag HA Candidate
Audiogram Right                                                                                            Audiogram Left

                                   Right Ear                                                                                                     Left tar

 (Law Filch)                                                                                ((1 h Pitch)    aerw P                                                          (High Pilch)




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Right PureTone Thresholds
       500 1000 2000 PTA Avg
 AC    35 55 SO 47

Left PureTone Thresholds
      SOO 1000 2000 PTA Avg
AC    30 55 55 47

Right Ear Speech Audiometry %                                                                               Left Ear Speech Audiometry %
                     Value                                                                                                         Value
              SRT   50 dBHL                                                                                                 SRT   45 dBHL
Word Recog          92%                                                                                     Word Recog            88%
      ----Level     90 dBHL                                                                                      --    Level      85 dBHL




                                                                                                  Page 1 of 3
          Case 1:11-cr-00087-TC
Darin Ci rk 45 yr., DOB: 7/19/1967
                                     Document 54-1 Filed 02/02/13 Page 14 of
                                                                     Date ofVisit:
                                                                             22 8/21/2012



Test Reliability good
Transducer earphone
Response mode Standard
Tested by: Niki L. Barwick, AuD.
Hearing Aid Candidate Yes




                                           Page 2 of 3
            45 yr.,
         Case
Darin Clark         DOB: 7/19/1967
                1:11-cr-00087-TC                 Document 54-1 Filed 02/02/13 PageDate of 22
                                                                                   15 of  Visit: 8/21/2012




Impedance Report Form:
Mid Ear Analyzer Right                                            Middle-Ear Analyzer Left




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                                                                          1.5.




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             -400                  -200                 200 &PA                  .4110                 -100         0              500 J. PA

              4.••••••••••• MR PRESSURE                                           14•■■•••••■•••■ .1ER PRESSURE •••• ■•■■•-••■••■••■-4




Physical Volume Right                                             Physical Volume Left
                             daPa ml                                                            daPa
 Physical volume (cc)        1.6                                  Physical volume (cc)           1.5
                       T1    95     0.7                                                   T1    25      0.8
                    Type    A                                                            Type


R Stapedius Reflex (HTL)                                          L Stapedius Reflex (HTL)
                        1K                                                                      1K
 Reflex Level (Ipsi)    90                                         Reflex Level ( !psi )        95

Audiology DX Codes 389.18 - Sensorineural
Mountain West ENT Codes Audiology 92550 Tymp Reflex and 92557 Basic Comrehensive Eval




                                                        Page 3 of 3
                  Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 16 of 22
Date: 11/28/12                                                                                        PAGE 1
Time: 1240
                                  BRIGHAM CITY COMMUNITY HOSPITAL
                                        950 SOUTH MEDICAL DR.
                                      BRIGHAM CITY, UTAH 84302
                               Phone: (435) 734-4173 Fax: (435) 723-7437
                                Pathologist Norman 0. Wahlstrom Jr., M.D.

                                           *** OUTPATIENT REPORT ***



NAME:       CLAR1C , DARIN F                                LOC:     G.LB
ACCT#:      G00701903002                                    AGE/SEX: 45/M
ATTEND DR: Brigham City Community                           STATUS: REG REF
                                                            DOB:      07/19/67


SPEC #: 1128:CBF:C00014R       COLL: 11/28/12-0908          STATUS:  COMP           REQ #: 00360300
                               RECD: 11/28/12-0908          SUBM DR: Brigham City Community Hosp

ENTERED:     11/28/12-0908                                  OTHR DR:
ORDERED:     COMP. METABOLIC, LIPID, PSA

           Test                    Low            Normal               High       Flag       Reference

     COMP. METABOLIC
       LIPID
            SODIUM                                   143                                 136-145 mEq/L
            POTASSIUM                                3.8                                 3.6-5.2 mEq/L
            CHLORIDE                                 105                                 98-107 MMOL/L
            CARBON DIOXIDE                           24.5                                21.0-32.0 mEq/L
            GLUCOSE                                   90                                 70.0-110.0 mg/dL
            BUN                                       13                                 7-20 mg/dL
            CREATININE/GFR
             CREATININE                              1.0                                 0.9-1.5 mg/dL
             GFR CAL                                 >60
           TOTAL PROTEIN                             7.8                                 6.4-8.2 gm/dL
           ALBUMIN                                   4.1                                 3.4-5.0 gm/dL
           GLOBULIN                                  3.7                                 2.0-4.0 gm/dL
           CALCIUM                                   9.5                                 8.8-10.4 mg/dL
           BILI TOTAL                                0.51                                0.0-1.0 mg/dL
           SGOT/AST                                                      70       H      15-37 U/L
           SGPT/ALT                                                     122       H      30-65 U/L
           ALK PHOS                                   82                                 45-150 U/L
           TRIGLYCERIDES                                        409        H             30-200 mg/dL
                                LDL CALCULATION IS NOT ACCURATE WHEN TRIGLICERIDES ARE
                                GREATER THAN 400 MG/DL.
            CHOLESTEROL                      1                  266      I H 10-200 mg/dL
            HDL CHOLESTEROL                   I      34                       1       132-96 mg/dL
            LDL-CALCULATED               TEST NOT PERFORMED                   1       10-130
            HDL/CHOL                          1      7                        I       11.0-10.0 mg/dL

                                RISK FACTOR FOR CHD

                                                              HDL                            LDL
                                LOW                          > 60                           < 130
                                MOD                         35 - 60                       130 - 160
                                HIGH                        < 35                            > 160

                                National Cholesterol Education Program (NCEP) Guidelines




                                         411 a c_h    avit
                   Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 17 of 22
Date: 11/28/12                                                                                          PAGE 2
Time: 1240
                                     BRIGHAM CITY COMMUNITY HOSPITAL
                                           950 SOUTH MEDICAL DR.
                                         BRIGHAM CITY, UTAH 84302
                                  Phone: (435) 734-4173 Fax: (435) 723-7437
                                   Pathologist Norman 0. Wahlstrom Jr., M.D.

                                               *** OUTPATIENT REPORT ***


NAME:             CLARK,DARIN F                                                                CONTINUED

Specimen: 1128:CBF:C00014R         Collected: 11/28/12-0908 Status:  COMP    Req#: 00360300
                                   Received:  11/28/12-0908 Subm Dr: Brigham City Community Hosp

Ordered:     COMP. METABOLIC, LIPID, PSA

           Test                       Low            Normal               High        Flag       Reference

   > PSA                                              0.81                        I        10.00-4.00
                                  I Siemens' (Dade) Dimension Method.


SPEC #: 1128:CBF:H00015R          COLL: 11/28/12-0908          STATUS:  COMP           REQ #: 00360300
                                  RECD: 11/28/12-0908          SUBM DR: Brigham City Community Hosp

ENTERED:     11/28/12-0908                                     OTHR DR:
ORDERED:     HEMOGRAM

           Test                       Low            Normal               High        Flag       Reference

        HEMOGRAM
   >     WBC                                            5.0                                  3.60-10.60 K/mm3
   >     RBC                                            5.26                                 4.40-5.80 M/mm3
   >     HGB                                            16.2                                 13.3-16.9 gm/L
   >     HCT                                            44.8                                 40.0-51.2 %
   >     MCV                                            85.2                                 78.0-97.3 fL
   >     MCH                                            30.8                                 26.2-32.5 pg
   >     MCHC                                                              36.2        H     32.0-36.0 g/dl
   >     RDW                                            13.5                                 11.3-15.6
   >     PLTS                                           232                                  140-400 K/mm3
   >     MPV                                            9.8                                  6.6-10.7 fl
                   Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 18 of 22
                 M(1111.11AL-NSTAR

      Brigham City
 Community Hospital
                                             EXPLANATION OF LAB RESULTS

We at the Brigham City Community Hospital Laboratory are pleased to be part of your health care
team. We offer you this explanation of your lab results to help you understand and have
confidence in this report. You have been sent two copies of your results, one for you, and one to
share with your health care provider. The goal of this laboratory testing is to help you learn more
about your body and identify potential problems early when treatment or lifestyle changes can be
most effective.

Your report contains two elements, a blood chemistry analysis that includes a lipid (cholesterol)
panel, glucose and electrolytes, and a blood cell count or CBC. Males will also have a PSA
(prostate specific antigen) result. Please note that the normal range for each test is listed in the
Reference column. If any lab result falls outside of this range, it will be listed in the Low or High
column. If you have results that fall in the Low or High column they may indicate a medical
problem, or may not be of any concern at all. Your physician is the most appropriate person to
discuss these matters with. PLEASE CONTACT YOUR HEALTH CARE PROVIDER WITH ANY
QUESTIONS AND MAKE AN APPOINTMENT FOR FURTHER EVALUATION IF YOUR
DOCTORS INDICATES THIS IS NECESSARY. IN THE EVENT YOU DO NOT HAVE A
HEALTHCARE PROVIDER PLEASE CALL THE PHYSICIAN REFERRAL LINE (435) 734-4203
OR EMAIL PHYSICIANREFERRAL@MOUNTAINSTARHEALTH.COM

CHEMISTRY TESTS

SODIUM AND CHLORIDE are regulated by the kidneys and adrenal glands. They are important for
the functioning of nerves, muscles and most cells. Your doctor should evaluate any value outside the
expected ranges.
POTASSIUM is controlled very carefully by the kidneys. It is important for the proper functioning of
nerves and muscles, particularly the heart. Any value outside the expected range, high or low,
requires medical evaluation. This is especially important if you are taking a diuretic (water pill) or
heart pill (Digitalis, etc.)
GLUCOSE is a measure of the sugar level in your blood. High values can be associated with eating
before the test and diabetes. If your fasting blood sugar is above the normal range, you should
consult your doctor. If your blood sugar is over 200, even if you had recently eaten or have known
diabetes, you should contact your physician.
BUN is a waste product produced in the liver and excreted by the kidneys. High values may mean
that the kidneys are not working as well as they should. BUN is also affected by high protein diets,
strenuous exercise, or dehydration (which raises the level) and pregnancy (which lowers it). Your
doctor should evaluate high values.
CREATININE is another waste product that indicates how your kidneys are working. The amount
present is not affected by the quantity of protein you eat. High values require medical evaluation,
especially with high BUN levels. Low values are not significant.
TOTAL PROTEIN, ALBUMIN, and GLOBULIN: These are a general index of overall health and
nutrition. Total protein is a measure of the protein circulating in your blood. Albumin is a small
"carrier" protein, and globulin is the "antibody" protein important for fighting disease. Your doctor
should evaluate any total protein, or globulin value outside normal range, or any low albumin.
CALCIUM is controlled by the parathyroid glands and the kidneys. This mineral is found mostly in
bone, but is also important for proper blood clotting, and nerve, muscle, and cell activity. Your health
care provider should evaluate any abnormal value.

Form: Lab-700-005
Revision Date: 12/07
                Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 19 of 22

BILIRUBIN TOTAL is the pigment (color) in bile. High levels may indicate liver disease or some
other disorder that reduces the normal flow of bile and should be reported to your physician.
AST/SGOT AND ALT/SGPT are proteins called enzymes that aid various chemical activities within
muscle, liver and heart cells. Injury to cells can release these enzymes into the blood. Damage from
alcohol, heart attack, liver disorders and a number of related diseases are reflected in high values and
should be evaluated by your doctor. Low values are probably not significant.

ALKALINE PHOSPHATASE (ALK PROS) is an enzyme found primarily in bones and the liver.
Expected values for this test are higher in pregnant women; otherwise, your physician should
evaluate any high value. A low value is probably not significant.
CHOLESTEROL: a blood fat. High levels have been associated with increased risk of heart
disease in some people. National research groups have shown an increased risk of developing
heart disease when values exceed 200 mg/dL. The following guidelines have been developed
from these studies:
    ❑ Everyone should try to get his or her cholesterol levels below 200. People that fall in this
       category have a low risk of developing heart disease.
    ❑ If your level is between 200 and 250, your risk of developing heart disease is increased.
    ❑ If your level is greater than 250 you have a high risk of developing heart disease. Consult
       your health care provider for advice on diets and medications to help you lower your risk.
HDL CHOLESTEROL: sometimes called the "good cholesterol", it is one of several types of fats
that make up the total Cholesterol number. The higher your HDL number, the lower your risk of
developing heart disease.
LDL CHOLESTEROL: sometimes referred to as "bad cholesterol", this is another of the fats
included in the total Cholesterol number. Generally, you want this number to fall within the
reference range.
TRIGLYCERIDE: a blood fat that is directly affected by what you have eaten. Triglycerides may
remain at high values in your blood for up to 12 hours after you have eaten. However, even after
eating, if your triglyceride number is higher than 500, you should consult your health care provider.
PSA (PROSTATE SPECIFIC ANTIGEN): a blood test for males that can indicate enlargement or
cancer of the prostate. If the result is above the reference range, you should contact your doctor.
PSA values are particularly helpful when done annually and followed over a period of years.

BLOOD CELL COUNTS (HEMOGRAM)

The HEMOGRAM measures three types of cells, white blood cells (WBC), red blood cells (RBC),
and platelets (PLT).
WBC: may be increased during infections and other problems such as allergies, or decreased in
other types of disease processes.
RBC: the cells that carry oxygen through your blood to the cells throughout the body.
HGB: Hemoglobin, the molecule inside the RBC that actually carries the oxygen. This test can be
used to diagnose anemia or an unhealthy increase in blood volume.
HCT: The percentage of your blood volume that is made up of cells. This test is used in
conjunction with hemoglobin to diagnose anemia or increased blood volume.
PLTS: Platelets, help in the blood's ability to clot.
MPV: Mean Platelet Volume, a measurement of platelet size.
MCV, MCH, MCHC, RDW: calculations used by doctors to help in the diagnosis of conditions such
as anemia.



Form: Lab-700-005
Revision Date: 12/07
                                Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 20 of 22


                                                                                              Intermountain Healthcare
                                                                                                                  Lab Results


              Patient: CLARK, DARIN FRONK                                                                                Home Phone: (435) 279-3853                                      DOB: 07/19/1967
             Address: 1315 RIVERVIEW DR                                                                                  Work Phone: (801) 238-5355                                     EMPI: 403078128
                                GARLAND, UT 843129330                                                                               Sex: M                                              MRN: 116143



Comprehensive Metabolic Panel
                                                                                                                                                       Anion Gap (Na CI
                                       Test Status                        Na                     K                       CI                CO2               CO2)                       Glucose            BUN
               Last Ref. Range:                                         137-146               3.5-5.0                  98-109              19-30                   3-16                   65-99            6-2 ,
                          Units:                                        minoVL                mmal_                    mmol/L             mmot/L               mmot/L                     mg/dL            mg/dL

        04/21/07.12:02                     Final                        143                    3.7                     103                 26                     14                      90               14


Comprehensive Metabolic Panel (cont)
                                        Creatinine               GPFt, Estimated                Ca                      Prot            Albumin             Bill, Total                 Alk Phos           ALT
               Last Ref. Range:               0.8-1.3                     >60                 8.4-10.2                 6.0-8.4            3.3-4.8              0.2-1.3                   40-120            12-61
                          Units:              mg/dL                 mUmin/1 73 se rn           mg/dL                    EY&                gldL                mg/dL                       U/L              Un-

        04/21/07.12:02                         1.3                      >60                   10.0                     8.5 H               4.8                    0.5                     87            86 H

Comprehensive Metabolic Panel (cont)
                                               AST
               Last Ref. Range.                16-50
                          Units:                U/L
        04/21/07.12:02                         43
04/21/2007.12:02 - Ordering/Requesting Pacilty:Logan Regional Hospital, Logan, UT; Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT



Vitamin B12
                                Test Status                 B12
         Last Ref. Range:                                  193-982
                       Units:                               P01.1
      04/21/07.12:02               Final                  >1000 H
•    Comments
04/21/07.12:02            812: Performed at Intermountain Central Laboratory, Murray, Utah
04/21/2007.12:02 - Ordering/Requesting Facilty:Logan Regional Hospital, Logan, UT; Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT



Thyroid Stimulating Hormone
                                Test Status                TSH
         Last Ref. Range:                                 0.45-4.67
                    Units:                                 ulUhnL
      04/21/07.12:02               Final                  '1.74
•    Comments
04/21/07.12:02 TSH: Performed at Intermountain Central Laboratory, Murray, Utah
04/21/2007.12:02 - Ordering/Requesting Pacilty:Logan Regional Hospital, Logan, UT; Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT



CBC
                                 Test Status               WBC                      RBC                 HGB               Hct            MCV            MCH                 MCHC
          Last Ref. Range:                                 3.6-10.6               4.50-5.90          13.5-17.5          41.0-53.0      80.0-100.0      26.0-34.0            32.0.36.0
                     Units:                                  K/uL                   WuL                g/dL                 %             8.              pg                  g/dL
      04/21/07.12:02               Final                   6.4                     5.50               16.9              47.7            86.6            30.6                35.4

CBC (cont)
                                                                                                 Nucleated
                                                                                                  RBCs,
                                    RDW                    PLTS                     MPV          Automated Differential Type          Neut, Abs       Neut, Auto           Lymph %
          Last Ref.   Range.       11.3-15.6               150-400                 6.6-10.1                                             1 8-6.8        36.0-66.0            24.0-44.0

                       Units.         %                     WuL                        &             000 VVBCs                           tOuL             %

       04/21/07.12:02              12.6                    352                      8.1                 0.0          Automated           4.1            63.9               23.9 L


CBC (cont)
                                 Mono, Auto              Eos, Auto               Baso, Auto     Lymph, Abs            Mono, Abs        Eos, Abs       Baso, Abs
          Last Ref. Range:          0.0-8.0                0.0-5.0                 0.0-5.0              1.2-3.4          0.2-0.9        0.0-0.5         0.0-0.3
                     Units:                                                                              WuL              K/aL           K/aL            WuL

       04/21/07.12:02              9.4 H                    2.0                     0.8                  1.5             0.6             0.1            0.1
04/21/2007.12:02 - Ordering/Requesting Pacilty:Logan Regional Hospital, Logan, UT; Performing Location(unlees otherwise noted):Logan Regional Hospital, Logan, UT



RPR
                                 Test Status                RPR
          Last Ref. Range:                                    NR
                     Units:
       04/21/07.12:02              Final                Nonreactive                                                                                                                                 Logan,    UT
04/21/2007.12:02 - Ordering/Requesting Facilty:Logan Regional Hospital, Logan,                                     uT; Performing Location( unless otherwise noted):Logan Regional Hospital,




    Patient: CLARK, DARIN FRONK                                                               EMPI: 403078128 MRN: 116143                                                 Date: 12/07/2012 11:55 Page: 1 of 2
                               Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 21 of 22


                                                                                            Intermountain Healthcare
Intermountain
   Healthcare
                                                                                                               Lab Results


Urinalysis
                               Test Status              Collect Method, Ur                   Color                Appear             Sp Gr, Ur           pH, Urine          Glucose, Ur           Ketones, Ur
           Last Ref. Range:                                                                 NORMAL                NORMAL             1.003-1.035                                  NEG                 NEG
                      Units:                                                                                                                                                     mg/dL               mg/dL
       04/21/07.12:03               Final            Clean Catch Specimen                  Normal               Normal               >1.030                6.0              Negative               Negative

Urinalysis (cont)
                                    Nitrite                    Hgb, Ur                      Prot, Ur           Leuk Esterase
           Last Ref. Range           NEG                           NEG                        NEG                  NEG
                      Units:
       04/21/07.12:03           Negative                    Negative                      Negative              Negative
04/21/2007.12:03 - Ordering/Requesting Facilty:Logan Regional Hospital, Logan, UT, Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT



Drugs Of Abuse, Rapid Screen, Urine
                                       Test Status           Amphetamines                Methamphetamine           Barbit Scm, Ur         Benzodiazepines               Cocaine                  Methadone       Opiates
                Last Ref. Range:                                      NEG                      NEG                         NEG                     NEC                     NEG                      NEG            NEG
                           Units
         04/21/07.12:03                      Final                 Negative                Negative                  Negative                 Negative               Negative                    Negative       Negative


Drugs Of Abuse, Rapid Screen, Urine (cont)
                                    Synthetic Opioids Cannabinoids, Ur                      Comment
                Last Ref. Range:              NEG                     NEG
                           Units:
         04/21/07.12:03                 Negative                   Negative               * See Note
. Comments
04/21/07.12:03           Synthetic Opioids: (NOTE)                       INTERPRETIVE TEXT FOR Synthetic Opioids.                      Synthetic Opioids include Oxycodone, Hydrocodone, Hydromorphone                     and
Oxymorphone.
04/21/07.12:03   Comment: (NOTE)        INTERPRETATION OF DRUG SCREENS:      This is an unconfirmed screening test and should be used for      MEDICAL purposes
only.
False positive and false negative results       can occur with any screening test. When clinically indicated,      specific drug
identification
should be done by a more specific      method such as GC/MS.
04/21/2007.12:03 - Ordering/Requesting Facilty:Logan Regional Hospital, Logan, UT; Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT



Hepatic Function Panel
                                Test Status              Prot                 Albumin            Bili, Total          Bili, Conj          Bili, Unconj           Alk Phos                ALT
           Last Ref. Range:                              6.0-8.4               3.3-4.8               0.2-1.3               0.0-0.3            0.044               40-120                 12-61
                      Units:                              g/dL                  g/dL                  mg/dL                mg/dL               mgML                 U/L                   U/L
       08/06/09.10:56               Final                7.9                   4.8                   0.5                   0.0                0.3                  74                    59

Hepatic Function Panel (cont)
                                     AST
           Last Ref. Range:          16-50
                      Units:          U/L
       08/06/09.10:56                37
08/06/2009.10:56 - Ordering/Requesting Facilty:Logan Regional Hospital, Logan, UT, Performing Location(unless otherwise noted):Logan Regional Hospital, Logan, UT




Patient: CLARK, DARIN FRONK                                                                  EMPI: 403078128 MRN: 116143                                                          Date: 12/07/2012 11:55 Page: 2 of 2
     Case 1:11-cr-00087-TC Document 54-1 Filed 02/02/13 Page 22 of 22




                                    Brigham Medical Clinic, Inc.
                                            P.O. Box 719
                                      600 West Hospital Road
                                     Brigham City, Utah 84302
                                    Office Phone: 435-734-2041
                                     Office Fax: 435-723-8028

     Bruce W. Keller, M.D.                                           Gregg H, Wilding, M.D.
     John R. Markeson, M.D.                                          Thomas M. Matthews, M.D.
     James R. Taylor, M.D.                                           David G. Wilding, M.D


07-25-12

To Whom It May Concern:

Re: Darin F. Clark
DOB: 7-19-1967


Darin Clark has been seen either at our office or at the Nucor Building Systems Clinic, about
every two weeks since January 2009. He has chronic pain in his knees and feet. The x-rays and
other tests have been normal, and Naprosyn, an anti-inflammatory has not helped, He has been
given a short course of prednisone, which helped a little bit. He has had swelling of his ankles
and his knees at times. He has never been on narcotic medication for this pain, but it does
decrease his mobility and his ability to be very active. Darin has also been seen for bouts of
depression and anxiety. At times these have been quite severe. He also suffers from
gastroesophageal reflux disease, tremors of his arms and legs, and has had pre diabetes on
laboratory testing in the past. He has severe migraine headaches, which at times are quite
incapacitating. He has had these headaches since age 27 and they are coming between twice a
week and once a week. They often give him central blindness, decrease the hearing in his ears
and he usually just has to go bed when he gets these kinds of headaches. He once was in a pain
clinic for this but now just uses ibuprofen.

His current medications are Naprosyn 500 mg twice daily, Clonazepam 1 mg twice daily,
Simvastatin 40 mg once a day, omeprazole 40 mg once a day.

Further questions can be addressed to me at the above address.

Sincerely.



Thomas M. Matthews, M.D.
Brigham Medical Clinic
                                                                                CO EIDEN I IAL
TM/rh
